Form OFP
                                    UNITED STATES BANKRUPTCY COURT
                                         Northern District of California

In    Home Loan Center, Inc.                                 Case No.: 19−51455 MEH 11
Re:
   fdba Lending Tree Loans                          Chapter: 11
   fdba Freeapprovalfinder.com, Inc.
         Debtor(s)


                          ORDER FOR PAYMENT OF STATE AND FEDERAL TAXES


The debtor above−named, during the period it is permitted to remain in possession of its estate, is hereby ordered:

1. To segregate and hold separate and apart from all other funds, all withholding, social security (both employees', and
employer's portions), excise and agricultural taxes or other monies collected, received or withheld for or on behalf of
the United States or the State of California.

2. To submit proof of timely payment of amounts owing in paragraph 1 above to the Internal Revenue Service, an
agency of the United States, as follows:

        A. Debtor shall pay taxes arising out of the payment of wages or salaries within seven days
           after debtor has paid such salaries or wages.

        B. Debtor shall pay all other taxes within seven days after the last day of each calendar
           month, or within such shorter period as the court may order upon ex−parte application of the
           United States.

        C. The proof of payment shall be made to the Internal Revenue Service,
           Attention: Insolvency − HQ5420, 55 So. Market St., San Jose, CA 95113, FAX: 408−817−6545.


3. To make timely payments to the State of California, Department of Benefit Payments, of all unemployment
insurance, disability insurance and withheld State of California personal income taxes within seven days after the
debtor has paid wages or salaries creating the tax obligations. Payment of the taxes shall be made to Employment
Development Department, Bankruptcy Unit−MIC 92E, P.O. Box 826880, Sacramento, CA 94280−0001.

4. To make timely payment to the California Department of Tax and Fee Administration, of all sales and use taxes
which are due to it, at the time required by law, and to make timely payment to the State of California, Franchise Tax
Board, of all income taxes which are due to it, at the time required by law.

5. To file all Federal and State tax returns on a timely basis. The Federal returns shall be filed with the Internal
Revenue Service, Attention: Insolvency − HQ5420, 55 So. Market St., San Jose, CA 95113, FAX: 408−817−6545.
The returns to be filed with the State of California, California Department of Benefit Payments, shall be filed at the
address shown above. The returns to be filed with the California Department of Tax and Fee Administration and the
Franchise Tax Board shall be filed where required by law.

6. To file with the Court on or before the 20th day of each month a verified statement for the preceding calendar
month showing (1) the amounts collected, received or deducted for each taxing agency; (2) the total amount expended
for gross payroll; (3) the amount received from gross sales; and (4) the amount paid to each taxing agency and dates of
payments. Upon filing, a copy of each such monthly statement shall be transmitted to the Internal Revenue Service
and the California Department of Benefit Payments at the addresses shown above.

7. The provisions of the foregoing paragraphs shall be effective as of the date of the petition initiating this proceeding.
If the debtor fails to comply with this order; this proceeding may be dismissed or an order may be entered converting
the proceeding to a Chapter 7 liquidation.


Dated: 7/22/19                                       By the Court:



       Case: 19-51455         Doc# 8      Filed: 07/22/19       Entered: 07/22/19 22:30:03           Page 1 of 2
                                  M. Elaine Hammond
                                  United States Bankruptcy Judge




Case: 19-51455   Doc# 8   Filed: 07/22/19   Entered: 07/22/19 22:30:03   Page 2 of 2
